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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 CHRISTOPHER COLEMAN
      Plaintiff,

 v.                                                    No. 3:17-cv-00062-DRH-SCW

 VERDE ENERGY USA ILLINOIS, LLC,
           Defendant.

                                               ORDER

 HERNDON, District Judge:

           Before the Court is defendant Verde Energy USA Illinois, LLC’s

 (“defendant”) Motion to Dismiss or in the alternative, to Stay or Transfer (Doc.

 35). Plaintiff Christopher Coleman opposes (Doc. 40). Based on the following,

 the motion (Doc. 35)—in entirety—is DENIED.

                                        II. BACKGROUND
           On June 5, 2017, plaintiff filed a one-count class action complaint naming

 defendant Verde Energy USA Illinois, LLC, and asserting violation of section

 227(b)(1)(A)(iii) of the Telephone Consumer Protection Act (“TCPA”) 1,2 (Doc. 32).

 More specifically, plaintiff alleged defendant routinely utilized an automatic

 telephone dialing system to place non-emergency calls to cellular telephone

 1
     47 U.S.C. § 227, Restrictions on use of telephone equipment.
 2
  Plaintiff’s original complaint named Verde Energy USA, Inc. as defendant. However, it was later
 determined that affiliate Verde Energy USA Illinois, LLC was responsible for making the marking
 calls in question. This development prompted plaintiff’s amended complaint naming the correct
 defendant—Verde Energy USA Illinois, LLC.
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 service numbers—without prior express consent (Doc. 32). For relief, plaintiff

 seeks, inter alia, designation as class representative pursuant to FED. R. CIV. P.

 23, damages, and costs (Id.).

        On June 28, 2017, defendant filed the instant Motion to Dismiss or, in the

 Alternative, Stay or Transfer the matter to the United States District Court for the

 Eastern District of Pennsylvania (“E.D. Pa.”) based on the “first-to-file” rule (Doc.

 35). Defendant directs the Court’s attention to Richardson v. Verde Energy USA,

 Inc., No. 5:15-cv-06325 (E.D. Pa. 2015), and argues that identical issues from the

 instant matter under the TCPA are presently being decided; and, that plaintiff’s

 Amended Complaint—which substituted defendant corporate affiliates—does not

 permit circumvention of the “first-to-file” rule since Richardson is essentially

 identical to the instant claim 3 (Id.). For relief, defendant requests either dismissal

 of the suit, a stay, or a transfer of the matter to E.D. Pa. for consolidation with

 Richardson (Id.).

        In response, plaintiff raises three points: (1) the Seventh Circuit’s lack of a

 “first-to-file” doctrine requiring dismissal of all suits after the first; (2) defendant’s

 failure to establish E.D. Pa. is a clearly more convenient forum than the Southern

 District of Illinois; and (3) defendant’s failure to establish a clear case of hardship

 or inequity which would justify staying the action (Doc. 40). As a result, plaintiff

 maintains defendant’s motion should be denied—in entirety (Id.).



 3
  Defendant argues that plaintiff’s class is absorbed by the Richardson class because one of the
 named plaintiff’s in Richardson is an Illinois resident; and all claims, parties, and requested relief
 between the two cases are similar (Doc. 36 at 3).
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                                   III. ANALYSIS
 A. “First-to-File” Rule Inapplicable
          Defendant’s argument is grounded on the Court’s broad discretion to

 dismiss, stay, or transfer a case duplicative of another action presently pending in

 another federal court. 4 See McReynolds, 694 F.3d at 888.        Defendant cites to

 several non-controlling cases in an attempt to convince the Court that similarity

 between duplicative actions is paramount over strict identity of parties in

 application of “first-to-file” doctrine. Cf. Adoma v. Univ. of Phoenix, Inc., 711 F.

 Supp. 2d 1142, 1147 (E.D. Cal. 2010); see also Baatz v. Columbia Gas

 Transmission, LLC, 814 F.3d 785, 790 (6th Cir. 2016); Herer v. Ah Ha Pub., LLC,

 927 F. Supp. 2d 1080, 1089 (D. Or. 2013); Abbott Labs., Inc. v. Mead Johnson &

 Co., No. C2-98-0157, 1998 WL 416758, at *4 (S.D. Ohio, Apr. 21, 1998).

          “As a general rule, a federal suit may be dismissed for reasons of wise

 judicial administration . . . whenever it is duplicative of a parallel action pending

 in another federal court.” Serlin v. Arthur Andersen & Co., 3 F.3d 221, 223 (7th

 Cir. 1993) (internal citation omitted).     Lawsuits are deemed “duplicative” if

 claims, parties, and available relief do not considerably differ. See McReynolds v.

 Merrill Lynch & Co., Inc., 694 F.3d 873, 889 (7th Cir. 2012). Conversely, “[t]his

 circuit does not rigidly adhere to a ‘first-to-file’ rule[,]” Trippe Mfg. co. v. Am.

 Power Conversion Corp., 46 F.3d 624, 629 (7th Cir. 1995); and “has ‘never laid

 down an inflexible rule that [a] prior filing controls.’ ” Research Automation, Inc.

 v. Schrader-Bridgeport Int’l, Inc., 626 F.3d 973, 979 (7th Cir. 2010) (citing


 4
     See Richardson, supra.
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 Warshawky & Co. v. Arcata Nat’l Corp., 552 F.2d 1257, 1265 (7th Cir. 1997)).

 Restated, no established Seventh Circuit rule requires district courts to dismiss

 duplicative lawsuits. See Gleash v. Yuswak, 308 F.3d 758, 760 (7th Cir. 2002)

 (explaining even where another similar suit is pending no rule of federal law

 requires dismissal of second or successive suit); but see, Cent. States, Se. and

 Sw. Areas Pension Fund v. Paramount Liquor Co., 203 F.3d 442, 445 (7th Cir.

 2000) (stating dismissal appropriate when same party as filed second or

 successive suit).

        Here, it is indisputable two similar actions are pending in two different

 district courts, brought by two different plaintiffs, against two distinct

 defendants. 5 Due to lack of binding Seventh Circuit law governing treatment of

 non-identical plaintiffs bringing identical suits in different districts, and the fact

 that “first-to-file” is inapplicable under these conditions 6—the Court declines to

 dismiss the instant action. See Blair v. Equifax Check Servs., Inc. 181 F.3d

 832, 838 (7th Cir. 1999) (where plaintiffs are different but allege same

 class/claims in different district courts, no mechanical rule governs handling of

 overlapping cases).




 B. Transfer Inconvenient


 5
   The Richardson plaintiff alleged TCPA violations by defendant Verde Energy USA, Inc., while
 plaintiff in the instant matter named defendant Verde Energy USA Illinois, LLC.

 6
   First to file is inapplicable due to different plaintiffs suing different defendants notwithstanding
 similar claims.
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       Pursuant to 28 U.S.C. § 1404, “[f]or the convenience of parties and

 witnesses, in the interest of justice, a district court may transfer any civil action to

 any other district or division where it might have been brought or to any district

 or division to which all parties have consented.” Courts balance the following

 three factors in deciding whether to grant or deny request of a transfer: (1) the

 convenience of witnesses and parties; (2) cost of transfer; and, (3) public interest

 and special circumstances involved. See F.T.C. v. MacArthur, 532 F.2d 1135,

 1143 (7th Cir. 1976); see also Coffey v. Van Dorn Iron Works, 796 F.2d 217, 219-

 20 (7th Cir. 1986) (explaining district judge must consider statutory factors in

 light of all case circumstances; choice to deny or grant transfer is within

 discretion of trial judge).

       In this case, defendant has the burden of establishing E.D. Pa. “is [a] clearly

 more convenient” venue than the Southern District of Illinois. See, e.g., Coffey, at

 219-20. After careful review of the pleadings, no such burden has been met. The

 Court finds that transfer of the instant case would be inconvenient because

 plaintiff Coleman is a citizen of Illinois, the alleged TCPA violation transpired in

 Illinois, and a transfer of a case dealing with Illinois phone service customer

 rights—by a company that specifically engages with Illinois residents—would

 contravene public interest. See id. Accordingly, the Court declines to transfer

 the instant matter to E.D. Pa.
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 C. Stay Denied

       The grant of a stay is “an exercise of judicial discretion, and the ‘party

 requesting a stay bears the burden of showing that the circumstances justify an

 exercise of that discretion. ’ ” Ind. State Police Pension Tr. v. Chrysler LLC, 556

 U.S. 960, 961 (2009) (quoting Nken v. Holder, 556 U.S. 418, 433-34 (2009)); see

 also Nken, at 443 (“[a] stay is not a matter of right, even if irreparable injury

 might otherwise result”). “In considering a motion for stay, courts consider both

 the interest of judicial economy and the potential prejudice or hardship to the

 parties.” Walker v. Merk & Co., Inc., No. 05-cv-360-DRH, 2005 WL 1565839, at

 *2 (S.D. Ill. June 22, 2005) (Herndon, J.). “[I]f there is even a fair possibility that

 the stay *** will work damage to some one else,” the party seeking the stay “must

 make out a clear case of hardship or inequity in being required to go forward.”

 Landis v. N. Am. Co., 299 U.S. 248, 255 (emphasis added).

       Generally, the following three factors are balanced when deciding whether

 to grant a motion to stay proceedings: “(i) whether a stay will unduly prejudice or

 tactically disadvantage the non-moving party, (ii) whether a stay will simplify the

 issues in question and streamline the trial, and (iii) whether a stay will reduce the

 burden of litigation on the parties and the court.” Guil v. All. Res. Partners, L.P.,

 No. 16-CV-0424-NJR-DGW, 2017 WL 1132613 (S.D. Ill. Mar. 3, 2017) (quoting

 Markel Am. Ins. Co. v. Dolan, 787 F. Supp. 2d 776, 779 (N.D. Ill. 2011)); see also

 In re Groupon Derivative Litig., 882 F. Supp. 2d 1043, 1045 (N.D. Ill. 2012); Se-
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 Kure Controls, Inc. v. Sennco Sols., 675 F. Supp. 2d 877, 879 (N.D. Ill. 2009);

 Pfizer Inc. v. Apotex Inc., 640 F. Supp. 1006, 1007 (N.D. Ill. 2009).

       Similar to the Court’s April 18, 2017 order denying defendant’s Motion to

 Stay, “ [u]nder the instant circumstances a stay is not appropriate[.]” See

 Coleman v. Verde Energy USA, Inc., No. 3:17-cv-00062-DRH-SCW, 2017 WL

 1382875 (S.D. Ill. Apr. 18, 2017) (emphasis added). A clear tactical disadvantage

 for plaintiff is present as absent class members would be increasingly more

 difficult to locate if a stay were granted. See id. at *2. Next, a stay will neither

 simplify issues, streamline the trial, nor reduce the burden of litigation because—

 in each instance—a different plaintiff is suing a different defendant.      Finally,

 defendant has failed to raise an inkling of foreseeable hardship or inequity as

 required to entertain a motion to stay proceedings. See Landis, 299 U.S. at 255.

                                 III. CONCLUSION
       Based on the foregoing, defendants’ Motion to Dismiss or in the alternative,

 to Stay or Transfer (Doc. 35) is DENIED. Parties in this action shall proceed

 notwithstanding the outcome in Richardson.

       IT IS SO ORDERED.

                                                             Digitally signed by
                                                             Judge David R. Herndon
                                                             Date: 2017.11.02
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                                              UNITED STATES DISTRICT JUDGE
